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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH CAROLINA
CHARLESTON DIVISION

The ESTATE OF SONNY BROWER,
deceased, by his duly appointed Personal C/A No. 2:23-cv-216-RMG
Representative, Debra O’Brien,

Plaintiff,

VS. PETITION FOR APPROVAL OF
SETTLEMENT
CHARLESTON COUNTY, CHARLESTON
COUNTY SHERIFF’S OFFICE, KRISTIN
GRAZIANO, in her official capacity as the
Sheriff of Charleston County, and ALAN
MICHAEL KENDALL,

Defendants.

Petitioner, Debra O’Brien, as the duly appointed and qualified Personal Representative of
the Estate of Sonny Brower, would respectfully show unto this Court:

I. Plaintiff, Debra O’Brien, is the duly appointed Personal Representative of the
Estate of Sonny Brower, being administered in Flager County, Florida. The Petitioner is
represented by Kevin B. Smith.

2. Sonny Brower died on January 3, 2021, as a result of injuries sustained in an

automobile collision on Highway 17 North in Charleston County, South Carolina.

3. Sonny Brower died intestate. His sole heir is his daughter, Debra O’Brien.
4. There are no known liens.
5. The Estate has claims or causes of action arising under $.C. Code Ann. §15-51-10

through §15-51-60 (1976), and claims or causes of action surviving under S.C. Code Ann. §15-

5-90 (1976), including claims for any possible conscious pain, suffering and death on the part of

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Sonny Brower.
6. Defendant Charleston County Sheriff's Office (CCSO) has offered the remaining
limits under its Tort Claims policy in the amount of $292.811.00 to resolve any and all claims as

a result of the wrongful death of Sonny Brower, pursuant to S.C. Code Ann. §15-51-10 through

§15-51-60 (1976), and survival action as described in S.C. Code Ann. §15-5-90 (1976, as

amended).

7. Under the terms of the settlement, Petitioner would release all parties and carriers
from any further financial responsibility for any and all claims which Debra O’Brien, as the
Personal Representative of Sonny Brower’s Estate, may now or hereafter have as a result of the
January 3, 2021 automobile collision, embracing any and all claims in connection with the
injuries and death of Sonny Brower, known or unknown, including claims of his Estate and his
heirs.

8. The entire gross recovery of $292,811.00 is allocated to the survival claim and
shali go to the Estate.

9. From the settlement proceeds, the Petitioner requests approval of the Court to pay
for legal services rendered by her attorneys in the agreed amount of $117,124.40 as well as costs
in the amount of $19,618.01. Petitioner is of the opinion that the attorneys’ fees and costs are
fair and reasonable under the circumstances and reflects substantial and fruitful efforts put forth
by the Estate’s attorneys and that such fees should be approved by the Court, and that the
undersigned, as Personal Representative, should be authorized to pay such fees and costs out of
the settlement proceeds with the balance of the proceeds to be paid in accordance with the law.

10. Under all of the foregoing circumstances, the Petitioner is of the opinion that the

settlement offer is reasonable, fair, and proper; the settlement is in the best interest of the Estate of

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Sonny Brower and his heirs.
WHEREFORE, the Petitioner prays that the Court inquire into the matter, that the

Petiioncr be authorized to execute the settlement: and for such other and further relief as this

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Debra O Brien as Personal Representative of the Estate of
Sonny Brower

Court deems necessary, just, and proper.

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, 2024

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COUNTY SHERIFF’S OFFICE, KRISTIN
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Sheriff of Charleston County, and ALAN
MICHAEL KENDALL,

Defendants.

The undersigned, as counsel for the Petitioner, certifies that he is of the opinion that the proposed

settlement is fair and equitable and it is in the best interest of the Estate of Sonny Brower and his

C/A No. 2:23-cv-216-RMG

ATTORNEY CERTIFICATION

heirs at law, and requests that the settlement be approved.

North Charleston, SC
Date: May 10,2024 _

/s/ Kevin B. Smith

Kevin B. Smith
